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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


TIKEILA RUCKER, RACHAEL SPRIGGS,         )
DAMON CURRY-MORRIS, AMBER                )
SHERMAN AND LAJUANA ABRAHAM,             )
                                         )
        Plaintiffs,                      )
                                         )
v.                                       )                   Case No. 2:23-cv-02358-SHL-cgc
                                         )
SHELBY COUNTY BOARD OF                   )
EDUCATION, CAROLYN JACKSON, in her )
official capacity as Chief of Safety and )
Security for the SHELBY COUNTY BOARD )
OF EDUCATION,                            )
                                         )
        Defendants.                      )


                                      PRETRIAL ORDER


       Plaintiffs Tikeila Rucker, Rachael Spriggs, Damon Curry-Morris, Amber Sherman, and

Lajuana Abraham and Defendant Shelby County Board of Education submitted their Joint

Proposed Pretrial Order on October 11, 2024. (ECF No. 64.) A Pretrial Conference was held on

October 18, 2024. (ECF No. 68.) This case is set for a non-jury trial to begin on Monday,

October 28, 2024, at 9:30 a.m. in Courtroom 1.

       The matters set forth in the following Pretrial Order are consistent with the Court’s

rulings at the Pretrial Conference and with the Court’s Order Granting in Part and Denying in

Part Defendants’ Motion for Summary Judgment (ECF No. 63), filed on October 10, 2024,

which limited the remaining material issues for trial.

   1. JURISDICATIONAL ISSUES:

       No party contests jurisdiction.
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   2. PENDING MOTIONS:

       None.

   3. CONTENTIONS OF THE PARTIES (Including Liability and Damages):

       Plaintiffs: Plaintiffs maintain that banning Plaintiffs from all school property violated their

First and Fourteenth Amendment rights as outlined in the Complaint and that Shelby County Board

of Education’s policies related to banning citizens engaged in public comment at board meetings

is a per se violation of their First Amendment rights and seek a declaration that the Shelby County

Board of Education’s current policy related to instituting such bans are unconstitutional in that

they fail to adequately protect the First Amendment rights of citizens like the Plaintiffs. Plaintiffs

seek constitutional damages in an amount to be proven at trial and seek compensatory damages

for Plaintiff Damon Curry-Morris in an amount of $9,046.

       Defendants: Defendants contend that temporary bans are permitted under the First

Amendment in limited public forums. In addition, Defendants contend that their decision to seek

the Authorizations of Agency (AOA) from the Memphis Police Department (MPD) was compliant

with the First and Fourteenth Amendment of the United States Constitution, as the temporary bans

were narrowly tailored, served a significant governmental interest, and allowed for ample channels

of communication.

   4. STATEMENT OF UNCONTESTED FACTS:

       a. On May 9, 2023, the Shelby County Board of Education (SCBOE) held a school board

           meeting, and one of the topics for discussion was the on-going effort to locate and hire

           a new superintendent.

       b. Plaintiffs, all of whom had been critical of the SCBOE’s search process, attended the

           meeting and had the opportunity to speak during the period set aside for public



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         comments.

      c. The effect of the AOAs was to ban all plaintiffs from all SCBOE property.

      d. On or around May 31, 2023, Defendant Jackson issued letters to the Plaintiffs

         informing them of the length of their ban. Ms. Rucker, Mr. Curry-Morris, and Rachel

         Spriggs were banned until June 11, 2023. Ms. Sherman and Ms. Abraham were banned

         until August 10, 2023.

      e. All bans have expired and no new bans have been issued to the Plaintiffs during the

         pendency of this case.

      f. The SCBOE board meetings and school property are limited public forum for purposes

         of First Amendment protections.

   5. AGREED UPON LIST OF CONTESTED ISSUES OF FACT:

      a. Whether the AOAs constituted content-based infringements of Plaintiff Curry-Morris’

         speech.

      b. Whether the AOAs were valid time, place, and manner restrictions on the remaining

         plaintiffs.

      c. Whether Defendant SCBOE’s official agency policies were unlawful and/or whether

         the actions taken by officials with decision-making authority were unlawful.

   6. AGREED UPON LIST OF CONTESTED ISSUES OF LAW:

      a. Whether Defendants violated Plaintiffs’ First Amendment rights by seeking AOAs that

         prevented Plaintiffs from entering school property during the pendency of the ban.

      b. Whether the AOAs are reasonable and content neutral and conform to the requirements

         of the First Amendment.

      c. Whether Plaintiffs made any statement that constituted a true threat that could justify



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            13               MPD AOA Policy                Stipulated

      Plaintiff also reserves the right to use any trial exhibits identified by the Defendants.

      Defendants:

      Defendant may use the following exhibits at trial, all of which have been stipulated to:

         1. First Amended Complaint.

         2. Letter dated 5-30-2023 from Memphis-Shelby County Schools (Plaintiff

             Abraham’s Deposition “Dep.”, Ex. 1).

         3. Letter dated 5-31-2023 from Memphis-Shelby County Schools (Plaintiff

             Abraham’s Dep., Ex. 2).

         4. Letter dated 5-30-2023 from Memphis-Shelby County Schools (Plaintiff

             Sherman’s Dep., Ex 1).

         5. Letter dated 5-30-2023 from Memphis-Shelby County Schools (Plaintiff

             Sherman’s Dep., Ex 2).

         6. Letter dated 5-30-2023 from Memphis-Shelby County Schools (Plaintiff Curry-

             Morris’ Dep., Ex 1).

         7. Letter dated 5-31-2023 from Memphis-Shelby County Schools (Plaintiff Curry-

             Morris’ Dep., Ex. 2).

         8. Letter dated 5-30-2023 from Memphis-Shelby County Schools (Plaintiff Spriggs’

             Dep., Ex. 1).

         9. Letter dated 5-31-2023 from Memphis-Shelby County Schools (Plaintiff Spriggs’

             Dep., Ex. 2).

         10. Letter dated 5-30-2023 from Memphis-Shelby County Schools (Plaintiff Rucker’s

             Dep., Ex. 1).



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         11. Letter dated 5-31-2023 from Memphis-Shelby County Schools (Plaintiff Rucker’s

            Dep., Ex. 2).

         12. Video (Jackson’s Dep., Ex. 1).

         13. May 30 letters from Ms. Jackson (Jackson Dep., Ex. 2).

         14. May 31 letters from Ms. Jackson (Jackson Dep., Ex. 3).

         15. MPD letters of agency (Jackson Dep., Ex. 4).

         16. Ms. Jackson’s responses (Jackson Dep., Ex. 5).

         17. Policy 0000 SCBOE (Jackson Dep., Ex. 6).

         18. Policy 4011 SCBOE (Jackson Dep., Ex. 7).

         19. Policy 4053 SCBOE (Jackson Dep., Ex. 8).

         20. Policy 7011 SCBOE (Jackson Dep., Ex. 9).

         21. Video (Green’s Dep., Ex. 1).

         22. Policy 0000 (Green’s Dep., Ex. 2).

         23. Plaintiff Sherman’s Facebook posts;

         24. May 9, 2023 Citizens Speaking Before the Board Sign-Up Sheet.

         25. Memphis Police Department Letter of Agency, Arrest Authorization, Ocasio

            Fuqua.

         26. March 4, 2024 Email Exchange/Thread between Carolyn Jackson and Joan

            Tuggers.

         27. June 7, 2024 Email Exchange/Thread between Carolyn Jackson and Trina Johnson,

            et al.

         28. Video made by Plaintiff Sherman at the May 30, 2023 SCS School Board Meeting.




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         10. Kevin Woods

         11. Keith Williams

         12. Frank Johnson

         13. Amber Huett-Garcia

         14. Joyce Dorse Coleman

         15. Any witnesses identified by Plaintiffs

          16. Any witnesses necessary for impeachment and rebuttal

   9. ESTIMATED LENGTH OF TRIAL: 2 Days

   10. AMOUNT OF ASCERTAINABLE DAMAGES: $9,046

   11. NAMES OF ALL ATTORNEYS INTERESTED IN THE CASE:

          •   Benjamin A. Gastel with Herzfeld, Suetholz, Gastel, Leniski and Wall, PLLC
          •   Alyson S. Beridon with Herzfeld, Suetholz, Gastel, Leniski and Wall, PLLC
          •   Robert L. J. Spence Jr. with Spence Partners
          •   Jarrett M.D. Spence with Spence Partners
          •   Scott A. Kramer with The Kramer Law Center

   12. LIST OF ANY SPECIAL EQUIPMENT:

          •   Counsel’s work computers
          •   Access to the Courts video distribution system
          •   Both Parties have been instructed to test their equipment before trial


IT IS SO ORDERED, this 18th day of October, 2024.

                                                s/ Sheryl H. Lipman
                                                SHERYL H. LIPMAN
                                                UNITED STATES DISTRICT JUDGE




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